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                           IN IHE UNITED STAIES DISIRICT COURT 

                               EASIERN DISIRICT OF MISSOURI 

                                     EASTERN DIVISION 


   Christopher Miller, 	              )
                                      ) Civil Action No.:
             Plaintiff,               )
                                      ) 4: 12-cv-02316-SNLJ
   vs.                                )
                                      )
   Commercial Recovery Systems, Inc..,) Judge Stephen N. Limbaugh Jr.
                                      )
             Defendant.               )

                                 ORDER OF JUDGMENT

         This Matter having come before this Court on Plaintiff's Motion for

   Default Judgment, due notice having been given, the Court having been

   fully advised,

         IT IS HEREBY ORDERED:

         Judgment is entered in favor of Plaintiff, CHRISTOPHER MILLER, and

   against Defendant, COMMERCIAL RECOVERY SYSTEMS, INC., as follows:

          1.    Statutory Damages Pursuant to the TCPA:                         $60,000.00

         2.     Attorneys' Fees: 	                                              $       130.00

         3.     Costs: 	                                                        $       415.00

         4. 	   Total Judgment in the amount of                                 $60,545.00

                                             SO ORDERED:                            .

                                                 ~d.¥4.
                                             Steperl. Umbaugh Jr.
                                             United States District Judge


                                             Dated:   -; ... ..2 t,.; -I'   )
